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                                        Mary Basile Logan
                                       Post Office Box 5270
                                    Clinton, New Jersey 08809
                                    Email: Trino@trinops.com

October 2, 2024


Sent Via ECF
Honorable Zahid N. Quraishi, U.S.D.J.
United States District Court
Clarkson S. Fisher Building and
  United States Courthouse
402 East State Street
Trenton, New Jersey 08608

               RE:     LOGAN v. GARLAND, et al.
                       Index No.: 3:24-cv-00040 ZNQ TJB

Dear Honorable Quraishi:

       I am the pro-se Plaintiff in the above-captioned matter. On August 2, 2024, Plaintiff

submitted request of the Honorable Court for an extension of time in which to serve by mail the

inclusive Defendants, same being consented with an extension through October 2, 2024. The

Defendants served by process server, reflected in correspondence of June 6, 2024, via ECF,

Plaintiff submitted to the Honorable Court Affidavits of service in this matter, See ECF 88, and .

   Plaintiff continues in the diligent attempt to complete service upon the Defendants with

extraordinary difficulty in several cases. To that end, Plaintiff has sought the assistance of

process server referral in securing skip traces on the following Defendant parties:

   1. Elizabeth “Liz” Cheney. Attempted service, twice. Viable address declined without a

       physical office. No known address. Retained Spartan Detective Agency, July 1, 2024,

       Skip trace confirmed, no known address. Collegiate office, not a physical mailing

       address. Plaintiff has made four (4) attempts to delivery without success, Affidavit being

       prepared.
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   2.   John Kerry. Attempted service, twice. Viable office address declined. No known

        address. USPS, Certified Mail, RR confirmed, Affidavit with confirmed delivery, as

        attached.

   3. Robert Mueller. Attempted service, twice. Viable office address declined. No known

        address. Skip trace confirmed July 1, 2024, no known address. Attempted delivery at

        federal address prior to resignation, returned. Affidavit being prepared.

   4. James B. Comey. Attempted service, twice. No known address, previous skip trace

        unsuccessful. No known address. Retained Spartan Detective Agency, July 1, 2024, Skip

        trace confirmed, address provided, not belonging to Defendant. Attempted service on

        four (4) occasions, Affidavit being prepared.

   5. Loretta Lynch. Attempted service, twice. No known address. Retained Spartan Detective

        Agency, July 1, 2024, Skip trace confirmed, no known address. Attempted service on four

        (4) occasions, Affidavit being prepared.

   6. James Baker. Attempted service, twice. Office has been closed, permanently with new

        occupants. No known address, Affidavit pending. Retained Spartan Detective Agency,

        July 1, 2024, Skip trace proved unsuccessful. Attempted service on four (4) occasions,

        Affidavit being prepared.

   7. Eric Holder. Attempted service, twice. Requires viable office address. No known

        address. Retained Spartan Detective Agency, July 1, 2024, Skip trace confirmed, no

        known address. . Attempted service on four (4) occasions, Affidavit being prepared.

   8. John Ashcroft. Attempted service, twice. Office address viability requirement. No

        known address. Retained Spartan Detective Agency, July 1, 2024, Skip trace proved
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       unsuccessful. Attempted service on four (4) occasions, Affidavit being prepared. Legal

       office provided; office closed.

       9.      Susan Rice. Attempted service, twice. Resigned previous role. Skip trace to

   confirm viable new office address, otherwise no known address. Retained Spartan Detective

   Agency, July 1, 2024, Skip trace proved unsuccessful. Attempted service on three (3)

   occasions, Affidavit being prepared.

       In accordance with Fed. R. Civ. P. 4(m), Plaintiff served the following Defendant parties

by United States Postal Service, Certified, Return Receipt, with the outgoing receipt attached

hereto, pending Affidavit preparation confirming receipt, noting those refused.

   10. Andrew Cuomo. Served June 24, 2024, Counsel of Record, USPS, Certified mail, RR.

       Affidavit attached.

   11. George W. Bush. Served June 24, 2024, USPS, Certified mail, RR. Affidavit attached.

   12. Huma Abedin. Served June 22, 2024, USPS, Certified mail, RR. Affidavit attached.

   13. Hillary R. Clinton. Served UNDATED, USPS, Certified mail, RR. Affidavit attached.

   14. Joseph R. Biden. Served UNDATED, USPS, Certified mail, RR. Affidavit attached.

   15. Adam Schiff. Served UNDATED, USPS, Certified mail, RR. Affidavit attached.

   16. Charles Schumer. Served June 26, 2024, USPS, Certified mail, RR. Affidavit attached.

   17. Lloyd Austin. Served June 25, 2024, USPS, Certified mail, RR. Affidavit attached.

   18. Robert Califf. Served May 17, 2024. Served UNDATED, USPS, Certified mail, RR.

       Affidavit attached.

   19. Tom Kean, Sr. Served UNDATED, USPS, Certified mail, RR. Affidavit attached.

   20. Jaime Gorlick. Served June 24, 2024, USPS, UNSIGNED, Certified mail, RR. Affidavit

       attached.
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   21. William J. Clinton. Served UNDATED, USPS, Certified mail, RR. Affidavit attached.

   22. Merrick Garland. Served June 24, 2024, USPS, Certified mail, RR. Affidavit attached.

   23. Xavier Becarra. Served June 26, 2024, USPS, Certified mail, RR. Affidavit attached.

   24. Christopher Wray. Service confirmed April 18, 2024. Attempted USPS delivery, refused.

      USPS, Certified mail, RR, retained. Affidavit being prepared.

   25. Rod Rosenstein. Service confirmed May 13, 2024. Sent June 20, 2024, USPS, no return,

      no refusal. Affidavit pending.

   26. Denis R. McDonough. Sent June 20, 2024, USPS, Certified mail, RR – return receipt not

      yet received, no return, no refusal. Affidavit pending.

   27. Marcia L. Fudge, Acting Secretary, Unnamed (US HUD). Sent September 29, 2024,

      USPS, Certified mail, RR – return receipt not yet received, no return. Affidavit pending.

   28. Bill Nelson. Served May 14, 2024. Sent June 20, 2024, USPS, Certified mail, RR –

      return receipt not yet received, no return, no refusal. Affidavit pending.

   29. Debbie Wasserman Schultz. Sent June 20, 2024, USPS, Certified mail, RR – return

      receipt not yet received, no return, no refusal. Affidavit pending.

   30. Alejandro Mayorkas. Sent by USPS, affidavit confirmed April 30, 2024, attached.

   31. Janet Yellen. Sent September 29, 2024, USPS, Certified mail, RR – return receipt not yet

      received, 4th attempt. Affidavit pending.

   32. Barack Hussein Obama. Sent September 29, 2024, USPS, 4 th attempt. Affidavit pending.

   33. Nancy Pelosi. Sent June 20, 2024, USPS, Certified mail, RR – return receipt not yet

      received, no return, no refusal. Affidavit pending

   34. William J. Burns. Sent June 20, 2024, USPS, Certified mail, RR – return receipt not yet

      received, no return. REFUSED. Affidavit attached.
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   35. Richard Cheney. Service attempt May 6, 2024, refused. USPS to Counsel of record all

       other attempts failed. September 29, 2024. Affidavit Pending.

   36. Occidental Petroleum. Attempted delivery April 18, 2024, Refused. Confirmed address

       mailed September 29, 2024. Affidavit pending.

   37. UnitedHealth Group. Served April 24, 2024, Affidavit attached. USPS, Certified mail,

       RR – Affidavit pending.

       Citing the ongoing complications in securing service upon the Defendants, by way of this

communication, Plaintiff respectfully requests additional time from the Honorable Court to

effectuate same. At the time of this writing, Plaintiff skip tracing have proven unsuccessful for

the following Defendants, James Baker; James B. Comey; Liz Cheney; Robert Mueller; Loretta

Lynch; Eric Holder; John Ashcroft; Barack Hussein Obama; Occidental Petroleum and Susan

Rice. Private investigation for Defendants, James B. Comey, Liz Cheney, Richard Cheney, all

proving unsuccessful, Affidavits being prepared.

       In accordance with Federal Civil Rules of Procedure, citing those pending and

outstanding service by USPS and private detective service, additional time will be necessary to

effectuate service on James Baker, James B. Comey; Liz Cheney; Robert Mueller; Loretta

Lynch; Eric Holder; John Ashcroft; Richard Cheney; Occidental Petroleum and Susan Rice.

Plaintiff respectfully requests the Honorable Court’s understanding, secure in the knowledge that

every diligent attempt continues to be made with viability of Defendant addresses a consistent

impeding factor of meeting that obligation.

       Plaintiff notes that the Defendants’ contact information disclosed on professional CV,

internet sites including LinkedIn are not viable and have been exhausted in previous delivery

attempts. Plaintiff states that by all appearances, citing the ongoing attempts, the subject parties
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outstanding Federal Department of Housing and Urban Development (PENDING BY USPS);

Janet Yellen (PENDING BY USPS); Barack Hussein Obama (PENDING BY USPS); James

Baker, James B. Comey; Liz Cheney; Robert Mueller; Loretta Lynch; Eric Holder; John

Ashcroft; and Susan Rice, are knowingly refusing or averting delivery to impede Plaintiff’s

action, disclosing of their culpability, presenting an impediment to her Civil Rights citing the

pending Injunctive Motion with Permanent Restraining Order, absolutely untenable and

unacceptable.

       Should the Honorable Court require additional information to complete their evaluation

of this request, please advise, Plaintiff will respond immediately. Thanking the Honorable Court,

in advance.

Sincerely,

/s/ Mary B. Logan
Plaintiff, Pro Se


Cc: Counsel of Record (Sent Via ECF)
Attachments
